




NO. 07-07-0465-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL D



DECEMBER 31, 2007

______________________________



SAUL MENDEZ, APPELLANT



V.



THE STATE OF TEXAS, APPELLEE

_________________________________



FROM THE 364
TH
 DISTRICT COURT OF LUBBOCK COUNTY;



NO. 2006-414170; HONORABLE BRADLEY S. UNDERWOOD, JUDGE

_______________________________





Before QUINN, C.J., and CAMPBELL and PIRTLE, JJ.

ABATEMENT AND REMAND

Appellant Saul Mendez filed a notice of appeal from his conviction for murder on November 14, 2007.
(footnote: 1) &nbsp;On October 23, 2007, the trial court filed its certification representing that appellant has the right of appeal. &nbsp;However, the appellate record reflects that appellant failed to sign the certification pursuant to Texas Rule of Appellate Procedure 25.2(d) which requires the certification to be signed by appellant and a copy served on him.



Consequently, we abate the appeal and remand the cause to the 364
th
 District Court of Lubbock County (trial court) for further proceedings. &nbsp;&nbsp;On remand, the trial court shall utilize whatever means it finds necessary to determine whether appellant desires to prosecute the appeal and if so, to obtain his signature on an amended trial court’s certification.

 &nbsp;If necessary, the trial court shall execute findings of fact, conclusions of law, and any necessary orders it may enter regarding the aforementioned issues and cause its findings, conclusions, and orders, if any, to be included in a supplemental clerk’s record. &nbsp;The trial court shall file the supplemental clerk’s record and the supplemental reporter’s record, if any, with the Clerk of this Court by January 31, 2008. &nbsp;



Per Curiam



Do not publish. &nbsp;

FOOTNOTES
1: The appellate record reflects appellant first filed a notice of appeal on November 7, 2007. &nbsp;Thereafter, on November 8, 2007, appellate counsel for appellant was appointed by the trial court. &nbsp;Appellate counsel filed a supplemental notice of appeal on appellant’s behalf on November 14, 2007. 




